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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

 UNITED STATES OF AMERICA

         v.                                           Case No.: 4:20-CR-00025-CDL-MSH-1

 JAMORRIS WORTHEY

                        ORDER ON MOTION FOR CONTINUANCE


       Defendant Jamorris Worthey has moved the Court to continue the pre-trial hearing of his

case, presently scheduled for October 27, 2020, and to continue any trial until the March 2021

Term of Court. The Government does not oppose this motion. Defendant was arraigned on

September 24, 2020, and is currently in custody.           Additional time is needed for pretrial

investigation and to enter into plea negotiations between the defendant and government if

warranted. The Court finds that it is in the interests of justice to allow the parties to complete

investigation and to explore possible plea negotiations and that these interests outweigh the interest

of Defendant and the public in a speedy trial. Failure to grant a continuance would deny counsel

reasonable time for effective preparation and could result in a miscarriage of justice.

Accordingly, Defendant’s Motion for Continuance [Doc. 19] is GRANTED, and it is hereby

ordered that this case shall be continued until the Court’s March 2021 trial term.         The delay

occasioned by this continuance shall be deemed excludable pursuant to the provisions of the

Speedy Trial Act, 18 U.S.C. Section 3161.

                       It is SO ORDERED, this 16th day of October 2020.


                                               S/Clay D. Land
                                               HONORABLE CLAY D. LAND
                                               UNITED STATES DISTRICT COURT
